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Exhibit B
Case 1:24-cv-24453-KMW Document 18-2 Entered on FLSD Docket 01/13/2025 Page 2 of 8

PROPERTY APPRAISER OF NIIANI-DADE COUNTY

Detailed Report

Generated On; 01/13/2025

Follo 30-312 1-000-0480

Property 3520 NW 64 ST

Address MIAMI, FL 33142-3222

Owner MDO HOLDINGS LLC

Mailing 10947 EAST CANNON DR
Address SCOTTSDALE, AZ 85259-4863

Primary Zone 7100 INDUSTRIAL - LIGHT MFG
Primary Land 4132 LIGHT MANUFACTURING : LIGHT MFG &

Use FOOD PROCESSING
Beds / Baths
IHalf o/oro
Floors 1
Living Units 0
Actual Area 57,840 Sq.Ft 2024 Aerial Photography
Living Area 57,840 Sq.Ft 3 mi
AdjustedArea 57,840 Sq.Ft NTE
Lat Size 95,700 Sq.Ft Year 2024 2023 2022
Year Built Multiple (See Building Info.) COUNTY

eae = | Exemption Value $0 $0 $0
Year 2024 2023 2022 Taxable Value $3,624,672 $3,295,157 $2,995,598
Land Value $3,349,500 $3,349,500 $3,349,500 SCHOOL BOARD
Building Value $3,650,500 $2,485,500 $1,378,500 Exemption Value 50 50 $0
Extra Feature Value $0 so $0 Taxable Value $7,000,000 $5,835,000 $4,728,000
Market Value $7,000,000 $5,835,000 $4,728,000 city
Assessed Value $3,624,672 $3,295,157 $2,995,598 Exemption Value 50 80 $0
i li a | Taxable Value $0 $0 $0
Benefit Type 2024 ©2023-2022, REGIONAL
Non-
Homestead pereronent $3,375,328 $2,539,843 $1,732,402 Exemption Value #0 “ =
Cap Taxable Value $3,624,672 $3,295,157 $2,995,598

Note: Nol all benefits are applicable to all Taxable Values (i.e.
County, Schoo! Board, Cily, Regional).

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JUAN FERNANDEZ-BARQUIN, ESQ.
CLERK OF THE COURT AND COMPTROLLER
OF MIAMI-DADE COUNTY

ContactUs fly Account PP

VALUE ADJUSTMENT BOARD

| # Folio Information

Tax Year Folio Owner Property

2024 3031210000480 MDOHOLOINGS LLC 3520 NW 54ST

$= Hearing Information

Findings —Petitlon Malling Address Date Time Room Type Status
go 2024-36477 LAWRENCE J. PUYANIC O21/2025 830A 8 Vv OPEN
717 PONCE DE LEGN BLVD SUITE 330
CORAL GABLES FL 33134

Cefn} eI

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Detailed Report

WAT :

Follo 01-3124-002-0430
326 NW 40 ST
Property Address i4ian4, FL 33127-2035
Owner CJ PARICAND ASSOCIATES LLG

6338 WILSHIRE BLVD
Malling Address G5 ANGELES, CA 90048

Primary Zone 0104 SINGLE FAM - ANCILIARY UNIT

Primary Land Use 0101 RESIDENTIAL - SINGLE FAMILY : 1

UNIT

Beds / Baths /Half 3/2/14
Floors 1

Living Units 1

Actual Area 2,153 Sq.Fl
Living Area 2,008 Sq.Ft
Adjusted Area 2,080 Sq Ft
Lot Size 6,000 Sq Ft

Year Built 2022

S Saini E
Year 2024 2023 2022

COUNTY

Exemption Value
Land Value $367,638 $317,370 $235,152 fauuwie Vat
Building Value $823,680 $832,000 go __ axauiewaue
. SCHOOL BOARD
Extra Feature Value $32,900 $33,200 $280 = lion Value
—~ ec I} 1
Market Value $1,224,218 $1,182,570 $235,432 Taxable Value
Assessed Value $1,224,218 $1,182,570 $235,432 city
PTA A Exemption Value

Benefit Type 2024 2023 2022

Note: Nol-all benefits are applicable to all Taxable Values (i.e.
County, School Board, City, Regional),

Taxable Value
REGIONAL

Exemption Value

Taxable Value

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2024 Aerial Photography
200 ft

$0 $0 $0
$1,224.218 $4,182,570 $235,432

$0 $0 $0
$1,224,218 $41,182,570 $235,432

$0 $o $0
$1,224,218 $1,182,570 $235,432

$0 $0 $0
$1,224,218 $1,182,570 $235,432

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Folio” 01-0101-060-1050
1040 NW 1.CT
Property Address sian FL 33136-3508
RING EQUITY PROPERTIES LLC , C/O PAUL
RIZZI
115 FIG DRIVE
DIX HILLS, NY 11746
Primary Zone 6106 RESIDENTIAL-LIBERAL RETAI

Primary Land 1081 VACANT LAND - COMMERCIAL :

Owner

Mailing Address

Use VACANT LAND
eel Gas = of a76
Floors 0
Living Units 0
Actual Area 0 SqFt 2024 Aerial Photography
Living Area OSqFt 200 ft
AdjustedArea OSqFi i 1
Lot Size 6,621 SqFt Year 2024 2023 2022
Year Bullt 0 COUNTY
Exemption Value $0 $0 $0
Year 2024 2023 2022 Taxable Value $239,213 $217,467 $197,698
Land Value $786,940 $525,564 $281,050 scHoOoL BOARD
Bullding Value $0 $0 $0 Exemption Value $0 $0 $0
Extra Fealure Value 8 So $0 Taxable Value $788,940 $525,564 $281,050
Market Value $786,940 $525,564 $281,050 CITY
Assessed Value $239,213 $217,467 $197,698 Exemption Value $0 $0 $0
ai a! a | Taxable Value $239,213 $217,467 $197,698
Benofit Type 2024 = 2023, 2022, REGIONAL
ened ee $547,727 $308,097 $83,352 | Exemption Value $0 $0 $0
Taxable Value $239,213 $217,467 $197,698

Note: Nol all benefits ara applicable to all Taxable Values (i.e.
County, Schoo! Board, City, Regional).

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Detailed Report

01-3124.024-1240

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48 NE 42 ST
Property Address yang FL 93137-3522
Owner PIERRE MELHADO , DANIELLA DESILVA

Mailing Address

128 FOX COVERT LN
TRYON, NC 28782

Primary Zone 0104 SINGLE FAM - ANCILIARY UNIT
Primary Land Use ieee 2-9 UNITS : 2 LIVING
Beds / Baths /Half 8/3/0
Floors 2
Living Units 2
Actual Area 3,144 Sq.FI
Living Area 2,760 Sq.Ft 2024 Aerial Photography
Adjusted Area 2,657 Sq.Ft 200 ft
Lot Size 6,000 Sq Fi INTRA UANET
Year Bullt 1924 Meh : —
mat - Year 2024 2023 2022
2024 2023 a3: See
Sar Exemption Value $0 $0 $0
ae 9575.10 $593,100 $400,014 rable Val $977,059 $888,236 $807,488
Bullding Value $472.481 $436,075 $407,348 wane Sane ; ‘
icicenm Faitiore Wisk SCHOOL BOARD
xtra Feature Value $128 S125 126 eB omption Value $0 $0 so
Market Value $1,047,704 $969,300 $807,488 Taxable Value $1,047,704 $969,300 $807,488
Assessed Value $977,059 $888,236 $807,488 city
bi oo a — as -_ Exemption Value $0 $o $0
Benefi
ae Type Taxable Value $977,059 $888,236 $807,488
Non-Homestead Assessment $70,645 $81,064
Cap Reduction . _ REGIONAL
Note: Not all benefits are applicable to all Taxable Values (ie. Exemption Value $0 $o $0
County, Schoo! Board, City, Regional). Taxable Value $977,059 $888,238 $807,488

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Detailed Report

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Folio ~ 02-3234-213-0080

Property 2020 PRAIRIE AVE UNIT: 502
Address MIAMI BEACH, FL.33139-1515
Owner CHEUNG L SIU TRS , CHANG Y CHIAO TRS
Malling 7279 SW ASCOT CT
Address PORTLAND, OR 97225
Primary Zone 0000
Primary Land 0407 RESIDENTIAL - TOTAL VALUE :
Use CONDOMINIUM - RESIDENTIAL
Beds / Baths
IHalf 2/2/10
Floors 0
Living Units 0
Actual Area 2024 Aerial Photography
Living Area 1,043 Sq.Ft 3 mi
Adjusted Area 1,043 Sq.Ft
Lot Size OSqFt Year 2024 2023 2022
Year Built 2008 COUNTY
ESS MT Exemption Value $0 $0 $0
Year 2024 2023 2022 Taxable Value $453,338 $412,126 $374,660
Land Value $0 $0 80 scHOOL BOARD
Butelog Meus $0 50 so Exemption Value $0 $0 $o
Extra Feature Value $0 $0. $0 Taxable Value $552,450 $552,450 $381,000
Market Value $552,450 $552,450 $381,000 city
Assessed Value $453,338 $412.126 $374,660 Exemption Value so $0 so
Sis | Taxable Value $453,338 $412,126 $374,660
Benefit Type 2024 2023. 2022 REGIONAL
Non-Homestead Assessment
Cap Reduction $99,112 $140,324 $6,340 Exemption Value so $0 $0
Taxable Value $453,338 $412,126 $374,660

Note: Nol all benefits are applicable to all Taxabie Values (i.e.
County, School Board, City, Regional).

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Detailed Report

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Property 131 SW 52CT
Address MIAMI, FL 33134-1131
Owier AUSTIN PARTRIDGE TRS LE , REM THE AP
LIVING TRUST

Malling Address ett evue Wa 9g004
Primary Zone 0100 SINGLE FAMILY - GENERAL
Primary Land 9191 RESIDENTIAL - SINGLE FAMILY : 4 UNIT
PETES rte
Floors 1
Living Units 1
Actual Area 2,131 SqFt 2024 Aerial Photography
Living Area 2,101 Sq Ft =on ft
AdjustedArea = 1,880 Sq.Ft Ce =
Lot Size 6,600 Sq.Ft Year 2024 2023 2022
Year Bullt Multiple (See Building Info.) COUNTY
ee al Exemption Value $0 $0 $0
Year 2024 2023 2022 Taxable Value $559,350 $508,500 $467,500
Land Value $343,471 $264,000 $224,598 SCHOOL BOARD
Bullding Value $257,109 $240,250 $236,421 Exemption Value $0 $0 $0
Extra Feature Value $4,400 $4,250 $4,481 Taxable Value $604,980 $508,500 $467,500
Market Value $604,980 $608.500 $487,500 SITY
Assessed Value $559,350 $508,600 $467,500 Exemption Value So $0 $0

j Taxable Value $559,350 $508,500 $467,500
Benefit Type 2024 2023 2022 REGIONAL
Non-Homestead Cap yee $45,630 Exemplion Value $0 $0 $0

Taxable Value $559,350 $508,500 $467,500

Note: Nol all benefits are applicable lo all Taxable Values (i.e.
County, Schoo! Board, City, Regional).

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